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IN THE UNITED STATES DISTRICT. COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

GALLOWAY ET AL.,
Plaintiff

Vv. Case No. 3:19-cv-314

MARTORELLO ET AL.,

Defendant.

MEMORANDUM OPINION

This matter is before the Court on PLAINTIFFS’ OBJECTION TO
BLUETECH AND BREAKWATER’S STATEMENT OF POSITIONS AND EVIDENTURY
[sic] HEARING EXHIBIT LIST (“Objection”) (ECF No. 507); Bluetech
Irrevocable Trust (“Bluetech”) and Breakwater Holdings, LLC’s
(“Breakwater”) MOTION FOR PROTECTIVE ORDER AS TO DEFENDANTS
BLUETECH IRREVOCABLE TRUST AND BREAKWATER HOLDINGS, LLC (“Second
Motion for Protective Order”) (ECF No. 533); and PLAINTIFFS’
MOTION TO COMPEL AND FOR SANCTIONS (“Motion to Compel”) (ECF No.
545) and the related supporting memorandum, responses, and
replies. For the reasons set forth below, PLAINTIFFS’ OBJECTION
TO BLUETECH AND BREAKWATER’ S STATEMENT OF POSITIONS AND
EVIDENTURY [sic] HEARING EXHIBIT LIST (ECF No. 507) will be
denied without prejudice as to the request for an adverse

inference; Bluetech and Breakwater’s MOTION FOR PROTECTIVE ORDER
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AS TO DEFENDANTS BLUETECH IRREVOCABLE TRUST AND BREAKWATER
HOLDINGS, LLC (“Second Motion for Protective Order”) (ECF No.
533) will be denied; and PLAINTIFFS’ MOTION TO COMPEL AND FOR
SANCTIONS (“Motion to Compel”) (ECF No. 545) will be granted in
part and denied in part.

The Court further finds that the facts and legal
contentions are adequately presented in the materials before the

Court and oral argument would not aid the decisional process.

BACKGROUND

This matter is before the Court on three related discovery
and evidentiary disputes. There have been numerous discovery
disputes throughout the course of this protracted litigation. On
October 2, 2019, the parties filed their RULE 26(f£) JOINT REPORT
(ECF No. 250). At the Fed. R. Civ. P. 26(f) conference and in
the Joint Report, the Defendants, including Bluetech and
Breakwater, took the position “that this case, including
discovery, should not proceed until the pending motions to
dismiss in this action have been decided and the impact of the

Fourth Circuit’s opinion [Williams v. Big Picture Loans, LLC,

929 F.3d 170 (4th Cir. 2019)] is fully analyzed and appreciated

by the parties and the Court in [Williams et al. v. Big Picture

Loans, LLC et al., Case No. 3:17-cv-461-REP] and Galloway TI

[Galloway et al. v. Big Picture Loans, LLC et al., Case No.
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3:18-cv-406-REP].” Id. at 2. On November 27, 2019, Bluetech and
Breakwater joined Defendants Jeremy Davis, Justin Martorello,
Rebecca Martorello, Eventide Credit Acquisitions, LLC
(“Eventide”), Gallant Capital LLC (“Gallant”), and Liont, LLC’s
(“Liont”) MOTION FOR PROTECTIVE ORDER STAYING DISCOVERY (“First
Motion for Protective Order”) (ECF No. 264) “for all reasons
stated therein.” JOINDER IN DEFENDANTS JEREMY DAVIS, JUSTIN
MARTORELLO, REBECCA MARTORELLO, EVENTIDE CREDIT ACQUISITIONS,
LLC, GALLANT CAPITAL LLC, AND LIONT, LLC’S MOTION FOR PROTECTIVE
ORDER (ECF No. 281) at 1. In the First Motion for Protective
Order, the Defendants requested a stay for the same reasons as
articulated in Rule 26(f) conference, namely until the

Defendants’ motions to dismiss and relevant issues in Galloway I

and Williams were resolved. First Motion for Protective Order at
1. On September 23, 2021, the Court denied the First Motion for
Protective Order and ordered the parties to file a proposed plan
for discovery. ECF No. 373 (“9/23/2021 ORDER”). On October 15,
2021, the parties filed a JOINT STATEMENT REGARDING PROPOSED
DISCOVERY PLAN (ECF No. 398). In this Joint Statement, Bluetech
and Breakwater reiterated that it was their position

that discovery should be stayed against them pending

the later of (a) the outcome of Matt Martorello’s

appeal from the Court's order granting class

certification in Martorello v. Williams, et al., [sic]
Docket No. 21-2116 (4th Cir. Oct. 7, 2021); or (b)

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determination of the Bluetech Defendants’
jurisdictional defenses.

Id. at 5. Also, on October 15, 2021, Bluetech and Breakwater
filed a MOTION TO STAY ALL PROCEEDINGS AS TO DEFENDANTS BLUETECH
IRREVOCABLE TRUST, BREAKWATER HOLDINGS, LLC, AND KAIROS
HOLDINGS, LLC (ECF No. 394). On January 24, 2023, the Fourth

Circuit issued its opinion in Williams v. Martorello, 59 F.4th

68 (4th Cir. 2023). On March 27, 2023, the Court denied Bluetech
and Breakwater’s Motion to Stay Proceedings. ECF No. 493
("3/27/2023 ORDER”).

On April 4, 2023, the Court held an evidentiary hearing and
oral argument regarding the MOTION TO DISMISS THE COMPLAINT
PURSUANT TO RULE 12(b) (5) AS TO DEFENDANT BLUTECH [sic]
IRREVOCABLE TRUST (ECF No. 401) and the MOTION TO DISMISS THE
COMPLAINT PURSUANT TO RULE 12(b)(5) AS TO DEFENDANT BREAKWATER
HOLDINGS, LLC (ECF No. 403). 4/5/2023 Minute Entry (ECF No.
508). Before that hearing, both parties submitted exhibit lists.+

Plaintiffs objected to two of Bluetech and Breakwater’s

exhibits under Federal Rule of Civil Procedure Rule 37(c) (1).?

1 PLAINTIFFS’ EXHIBIT LIST AND DEPOSITION DESIGNATIONS FOR EVIDENTIARY HEARING
ON APRIL 4, 2023 (ECF No. 504); DEFENDANTS BLUETECH IRREVOCABLE TRUST AND
BREAKWATER HOLDING LLC’S EXHIBITS AND DEPOSITION DESIGNATIONS FOR EVIDENTIARY
HEARING ON APRIL 4, 2023 (ECF No. 505).

2 Rule 37(c) (1) reads: “A party that without substantial justification fails
to disclose information required by Rule 26(a) or 26(e)(1), or to amend a
prior response to discovery as required by Rule 26(e)(2), is not, unless such

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Objection at 2. Plaintiffs argued that they had “served both
Interrogatories and Requests for production of documents in
September 2019 that in multiple ways requested Defendants’
production of the very documents it now seeks to use.” Id. at 2-
3. However, according to Plaintiffs, Defendants refused to
disclose the documents in question. Id. As a result, Plaintiffs
argued, Defendants should be forbidden from using the very
documents that they “failfed] to provide.” Id. at 2 (quoting
Fed. R. of Civ. P. 37(c)(1)). Furthermore, Plaintiffs argued
that
Defendants’ refusal to produce the full set of
documents sought and relevant to the service and
jurisdiction issues to be argued [on April 4, 2023]
and [April 5, 2023] provides a strong adverse
inference that had they been produced they would have
established the service and jurisdiction issues
Plaintiffs allege now.
Id. at 2; see also Objection Reply at 2 (“Plaintiffs argued that
they were entitled to an adverse inference that had Defendants

produced the documents in their possession, those documents

would have established that Mr. [Matt] Martorello is the agent

failure is harmless, permitted to use as evidence at a trial, at a hearing,
or on a motion any witness or information not so disclosed. In addition to or
in lieu of this sanction, the court, on motion and after affording an
opportunity to be heard, may impose other appropriate sanctions. In addition
to requiring payment of reasonable expenses, including attorney's fees,
caused by the failure, these sanctions may include any of the actions
authorized under Rule 37(b)(2) (A), (B), and (C) [relating to failure to
comply with discovery orders] and may include informing the jury of the
failure to make the disclosure.”

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of each Defendant and that they were part of the enterprise
alleged in this case.”)

In a ruling from the bench (accompanied by a written
ORDER), the Court sustained Plaintiffs’ objection to the
proposed exhibits in question but ordered further briefing on
the whether an adverse inference is appropriate. ECF No. 518
(“4/5/2023 ORDER”). That briefing has been filed.

On April 21, 2023, Bluetech and Breakwater filed the Second
Motion for Protective Order, requesting the Court to “issue a
protective order under [Fed. R. Civ. P.] Rule 26(c) (1) (A) that
forbids Plaintiffs from compelling merits discovery as_ to
Foreign Defendants pending the final determination of
declaratory judgment proceedings filed in the High Court of the
Cook Islands.” Second Motion for Protective Order at l.

On May 4, 2023, Plaintiffs filed the Motion to Compel,
requesting that “this Court overrule Defendants Bluetech
Irrevocable Trust’s and Breakwater Holdings, LLC’s (“Cook Island
[sic] Defendants”) objection to Plaintiffs’ first set of
discovery and compel complete responses.” Motion to Compel at 2.
Moreover, Plaintiffs requested “the entry of an Order requiring
Cook Island [sic] Defendants to pay Plaintiffs’ reasonable fees

and costs associated with bringing this Motion.” Id.
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DISCUSSION

Adverse Inference
It is unclear under which legal framework Plaintiffs are
requesting an adverse inference. Plaintiffs explicitly state
that they are not seeking a discovery sanction under Fed. R.
Civ. P. 37(b) (2) .3 PLAINTIFFS’ REPLY TO DEFENDANTS’ RESPONSE TO
PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’ STATEMENTS OF POSITION AND
EVIDENTIARY HEARING EXHIBITS (DKT. NO. 526) (“Objection Reply”)
at 2 (ECF No. 531). Instead, Plaintiffs point to “tradition” and
argue:
When it would be natural under the circumstances for a
party to call a particular witness, or to take the
stand as a witness in a civil case, or to produce
documents or other objects in his or her possession as
evidence and the party fails to do so, tradition has
allowed the adversary to use this failure as the basis

for invoking an adverse inference.

Objection at 3 (quoting 2 McCormick On Evid. § 264 (6th ed.)).‘

However, the same treatise which Plaintiffs cite notes that
“(t]he availability of modern discovery and other disclosure
procedures serves to diminish both [the traditional rule’s]

justification and the need for the inference.” 2 McCormick On

3 Fed. R. of Civ. P. 37(b) (2) allows for discovery sanctions in the district
where the action is pending.

4 While McCormick on Evidence is currently in its eighth edition, this
language remains unchanged in the latest edition.
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Evid. § 264 (8th ed.). And, when used, this “tradition” is, in
fact, usually given as a jury instruction.

A review of Fourth Circuit precedent suggests that,
although this inference is still employed by modern courts, it
is primarily used as a form of discovery sanction and sought

under a rule of procedure. See Vodusek v. Bayliner Marine Corp.,

71 F.3d 148, 156 (4th Cir. 1995); Brooks Sports, Inc. v. Anta

(China) Co., Ltd., No. 1:17-cv-1458, 2018 WL 7488924, at *10-11

(E.D. Va. Nov. 30, 2018), report and recommendation adopted

Brooks Sports, Inc. v. Anta (China) Co., LTD, No. 1:17-cv-1458,

2019 WL 969572, at *1 (E.D. Va. January 11, 2019). It is
perplexing why Plaintiffs disclaim any request for sanctions as
this is the most logical framework under which to analyze their
request.

Notably, Plaintiffs cite to only two cases to support their
request for an adverse inference unconnected to a discovery
sanction, both of which are readily distinguishable. First, they
cite an 1893 decision of the Supreme Court of the United States
that involved a criminal defendant's wife’s failure to testify.

Objection at 4 (citing Graves v. United States, 150 U.S. 118,

121 (1893)). The Government urged an adverse inference against
the defendant for his failure to call his wife as an alibi

witness. Graves, 150 U.S. at 119. The Supreme Court rejected
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this application stating “this presumption does not apply to
every fact in the case which it may be in the power of the
defendant to prove.” Id. at 121.

Second, Plaintiffs cite to a 1923 immigration deportation

case. Objection at 3 (citing United States ex rel. Bilokumsky v.

Tod, 263 U.S. 149 (1923)). In that case, when the defendant
failed to claim or enter any evidence of his American
citizenship, the Supreme Court invoked the presumption as proof

that the defendant was an alien. United States ex rel.

Bilokumsky, 263 U.S. at 153-154. This application of the
inference makes logical sense. If the defendant was a citizen,
he would have made a claim to citizenship rather than remaining
silent on the topic. The requested inference (that defendant is
not a citizen) is straightforward and logical. But, even in this
case, the Supreme Court warned that “Conduct is often capable of
several interpretations; and caution should be exercised in
drawing inferences from it.” Id. at 154.

Neither of these century-old precedents remotely relate to
this case; but both do include admonitions against the wide-
ranging use of this inference.

More recently, the Fourth Circuit opined that “fals a
general proposition, the trial court has broad discretion to

permit a jury to draw adverse inferences from a party’s failure
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to present evidence, the loss of evidence or the destruction of

evidence.” Vodusek v. Bayliner Marine Corp., 71 F.3d 148, 156

(4th Cir. 1995). The failure to produce evidence “without more”
permits an inference that “the party fears [to produce the
evidence]; and this fear is some evidence that the circumstance
or document or witness, if brought, would have exposed facts

unfavorable to the party.” Id. (quoting 2 Wigmore on Evidence, §

285 at 192 (Chadbourn rev. 1979)) (alteration in original).
However, the Fourth Circuit also cautioned that “A party's
failure to produce evidence may, of course, be explained
satisfactorily.” Id.

In this case, Bluetech and Breakwater have attempted to
offer a satisfactory explanation for their failure to produce
evidence. They cite to Cook Islands law which allegedly
prohibits the disclosure of the requested documents on the pain
of criminal liability. RESPONSE TO PLAINTIFFS’ OBJECTIONS TO
DEFENDANTS ‘ STATEMENTS OF POSITION AND EVIDENTIARY HEARING
EXHIBITS (“Objection Response”) at 1 (ECF No. 526). They claim
to be awaiting clarification of the laws of the Cook Islands
before complying with discovery requestion. Objection Response
at 7. “It is hardly debatable that fear of criminal prosecution
constitutes a weighty excuse for nonproduction, and this excuse

is not weakened because the laws preventing compliance are those

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of a foreign sovereign.” Societe Internationale pour

Participations Industrielles et Commerciales, S.A. v. Rogers,

357 U.S. 197, 211 (1958). Because Bluetech and Breakwater have
provided a reason for their failure to produce, their failure to
do so would not support an inference that the documents would
necessarily defeat their claim.

At this time, the Court will deny, without prejudice,
Plaintiffs’ request. Bluetech and Breakwater have asserted a
reason, albeit quite insubstantial (as explained below), for
their failure to disclose the documents.

However, as discussed in detail below, the Court will deny
the Second Motion for Protective Order and issue an ORDER
compelling discovery, on the pain of sanctions. If Bluetech and
Breakwater fail to promptly and completely comply with discovery
requests within twenty days after this opinion is entered,
Plaintiffs may file a Motion for Discovery Sanctions pursuant to
Fed. R. Civ. P. 37(b) (2) requesting an adverse inference and any
additional sanctions.

Motion for Protective Order

Bluetech and Breakwater request a protective order under

Fed. R. Civ. P. 26(c)(1)(A) prohibiting “merits discovery as to

the Foreign Defendants pending the final determination of

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declaratory judgment proceedings filed in the High Court of the
Cook Islands.” Second Motion for Protective Order at 1.

Rule 26(c) (1) (A) allows a party to “move for a protective
erder in the court where the action is pending. . . forbidding
the disclosure or discovery.” “The court may, for good cause,
issue an order to protect a party or person from annoyance,
embarrassment, oppression, or undue burden or expense.” Fed. R.
Civ. P. 26(c)(1). If the Court wholly or partially denies the
motion for a protective order, the court “may, on just terms,
order that any party or person provide or permit discovery.”
Fed. R. Civ. P. 26(c) (2).

Defendants’ Argument

Defendants argue that Cook Islands law prohibits them from
engaging in discovery. Bluetech is a registered trust under the
Cook Islands International Trusts Acts 1984 (“ITA”). See ECF No.
502-2. The ITA states “it shall be an offense for a person to
divulge or communicate to any other person information relating
to the establishment, constitution, business undertaking or
affairs of an international trust.” MEMORANDUM IN SUPPORT OF
MOTION FOR PROTECTIVE ORDER AS TO DEFENDANTS BLUETECH
IRREVOCABLE TRUST, AND BREAKWATER HOLDINGS, LLC (“Memo. in Supp.
of Second Protective Order”) at 1 (ECF No. 534) (citing ITA §

23{1)). Breakwater, on the other hand, was organized under the

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Cook Islands Limited Liability Companies Act of 2008 (“Cook
Islands LLC Act”), see ECF No. 502-1, which holds individuals

criminally liable for divulging

(a) membership or beneficial ownership of; (b)
identity of any member or the interest or beneficial
ownership of such member in; (c) business, financial
and other affairs of; (d) assets and liability of an
LLC.
Id. at 2. Since Bluetech is Breakwater’s sole member,
“Breakwater may also be bound by Section 23(1) of the ITA.” Id.

Defendants have initiated a declaratory judgement proceeding in
the High Court of the Cook Islands to fully understand their
obligations under Cook Islands law. Id. at 3. Bluetech and
Breakwater “have been advised by a Cook Islands barrister and
solicitor that they may face criminal penalties. . . [funder Cook
Islands law] if they provide discovery in this case.”
DEFENDANTS’ BLUETECH IRREVOCABLE TRUST AND BREAKWATER HOLDINGS,
LLC REPLY TO PLAINTIFFS’ OPPOSITION TO MOTION FOR A PROTECTIVE
ORDER (“Protective Order Reply”) at 1 (ECF No. 548).

Defendants argue that “a protective order effective until
the Cook Island [sic] Proceeding is resolved may obviate the
need for the Court to grapple with a complex issue of
international comity.” Memo. in Supp. of Second Protective Order

at 9.

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Plaintiffs’ Argument

Plaintiffs argue that a protective order is not necessary.
First, Plaintiffs argue that Bluetech and Breakwater’s
interpretation of Cook Islands law is simply “wrong.”
PLAINTIFFS’ OPPOSITION TO MOTION FOR A PROTECTIVE ORDER BY
DEFENDANTS BLUETECH IRREVOCABLE TRUST AND BREAKWATER HOLDINGS,
LLC (“Protective Order Response”) at 2 (ECF No. 547).5 Plaintiffs
point out the ITA allows the divulging of information that trust
employees “consider[] necessary from time to time” and that is
divulged “for the purpose of prosecuting or defending any
litigation relating to the establishment, constitution, business
undertakings or affairs of an international trust.” Id. at 2-3
(citing ECF No. 502-2 at 30) The LLC statute further allows the
disclosure of information “to the extent reasonably required in
the circumstances.” Id. at 3-4 (see ECF No. 502-1 at 27).

Even if the statutes did what Defendants say they did,
Plaintiffs assert that the interests of the United States
override any interests of the Cook Islands in enforcing these

blocking statutes. Protective Order Response at 4.

5 Plaintiffs also question if the statutes are even “real,” citing to the
‘misspellings and grammar errors throughout” to ITA and asserting that “the
LLC statute cited and attached by Cook Island [sic] Defendants is
incomprehensible.” Protective Order Response at 3.

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Finally, Plaintiffs claim that this defense to discovery
has been waived. Protective Order Response at 6. This defense is
“nothing more than a late-stage objection to a discovery
request, and should be deemed waived [because it was not timely

served] .” Protective Order Response at 6.

Legal Standard

District courts have “substantial discretion. : . in
managing discovery.” United States v. Westinghouse Savannah
River, Co., 284 30 F.3d. 284, 290 (4th Cir. 2002). And,

“[d]iscovery under the Federal Rules of Civil Procedure is, of

course, broad in scope and freely permitted.” Mylan Labs., Inc.

v. Akzo, N.V., 2 F.3d 56, 64 (4th Cir. 1993).

An American court “may order a person subject to its
jurisdiction to produce documents or other forms of evidence and
to submit to depositions and other forms of compulsory
interviews relevant to an action or investigation.” Restatement

(Fourth) of Foreign Relations Law § 426(1) (2018); In re Sealed

Case, 932 F.3d 915, 924 (D.C. Cir. 2019). But, all foreign
“discovery may be limited as a matter of international comity.”
Restatement (Fourth) of Foreign Relations Law § 426, Reporters’
Notes 2. This Court has determined that it has personal
jurisdiction over Bluetech and Breakwater. See August 11, 2023

MEMORANDUM OPINION (Bluetech Personal Jurisdiction) (ECF No.

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606); August 11, 2023 MEMORANDUM OPINION (Breakwater Personal
Jurisdiction) (ECF No. 607); August 11, 2023 ORDER (ECF No.
608).

International comity refers to “the spirit of cooperation
in which a domestic tribunal approaches the resolution of cases
touching the laws and interests of other sovereign states.”

Société Nationale Industrielle Aérospatiale v. U.S. District

Court, 482 U.S. 522, 543 n.27 (1987). Comity “is neither a
matter of absolute obligation on the one hand, nor of mere

courtesy and good will, upon the other.” Id. (quoting Hilton v.

Guyot, 159 U.S. 113, 163-164 (1895)).
Nor does the concept of comity require American courts to
“adhere blindly” to so-called blocking statutes, foreign

statutes which prohibit discovery. Société Nationale

Industrielle Aérospatiale, 482 U.S. at 544 n.29. An American

court may order discovery, and impose sanctions for the failure
to participate in discovery, “even if [the party] complying with
the order would violate foreign law.” Restatement (Fourth) of
Foreign Relations Law § 426(3). Indeed, “[i]t is well settled”
that blocking statutes “do not deprive an American court of the
power to order a party subject to its jurisdiction to produce

evidence even though the act of production may violate that

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statute.” Société Nationale Industrielle Aérospatiale, 482 U.S.

at 544 n.29.

When conducting an international comity analysis, the Court
(1) asks if there is an “actual conflict” between the laws of
the United States and the foreign sovereign and, if there is a
conflict, (2) balances the various interests of the foreign

sovereign and the United States. In re Vitamin C Antitrust

Litig., 8 F.4th 136, 140 (2nd Cir. 2021); In re Sealed Case, 932

F.3d at 931; Restatement (Fourth) of Foreign Relations Law § 426

cmt. a.

The Protective Order

Defendants urge the Court to issue a Protective Order to
allow the High Court of the Cook Islands the opportunity to
opine on this question. If the High Court of the Cook Islands
finds that the Defendants may fully comply with discovery, the
Defendants argue that the Court will not need to conduct a
comity analysis because there will be no actual conflict.

This request is simply another attempt by the Defendants to
secure a stay in this case. The Court recently denied Bluetech
and Breakwater’s request for a stay in this case. ECF No. 493
("3/27/2023 ORDER”). Defendants’ request for a protective order,

which will only serve to further delay discovery, is nothing

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more than the latest in a long series of attempts to delay and
obfuscate this litigation.

It is not necessary to await a ruling from the Cook Islands
High Court to determine the questions of comity presented by the
case. While such a ruling might provide further guidance on the
question of an “actual conflict,” the first step of the comity
analysis, it will not be dispositive. When determining the
proper interpretation of foreign law, the Federal Rules of Civil
Procedure instruct the court to “consider any relevant material
or source. . . whether or not submitted by a party.” Animal

Science Prods. v. Hebei Welcome, 138 S.Ct. 1865, 1869 (2018)

(quoting Fed. R. Civ. P. 44.1). Although federal courts “should
accord respectful consideration to a foreign government's
submission [on the meaning and interpretation of its law],” they
are “not bound to accord conclusive effect to the foreign

government’s statements.” Animal Science Prods., 138 S.Ct. at

1869. The Supreme Court of the United States has outlined
several “relevant considerations” to determine the appropriate
weight given to foreign government’s pronouncements. Id. at

1873.6 Until the High Court of the Cook Islands issues its

6 These considerations include: “the statement’s clarity, thoroughness, and
support; its context and purpose; the transparency of the foreign legal
system; the role and authority of the entity or official offering the
statement; and the statement’s consistency with the foreign government’s past
positions.” Animal Science Prods., 138 S.Ct. at 1873-1874.

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opinion, the Court will be unable to evaluate all the requisite
factors to determine the weight on which to give the opinion.
However, this Court is not permitted to simply defer to the
opinion of the Cook Islands court.

Moreover, this Court can already consider one factor which
counsels against giving significant weight to the Cook Islands
court's opinion: “the role and authority of the entity or

official offering the statement.” Animal Science Prods., 138

S.ct. at 1873. When considering this factor, the Supreme Court
has analogized its consideration of pronouncements of foreign
law to its treatment of pronouncements of state law. Id. at
1874. While a decision from a state’s highest court is binding
on federal courts, id., the same is not true for decisions from

state intermediate courts, Assicurazioni Generali, S.P.A. Vv.

Neil, 160 F.3d 997, 1003 (4th Cir. 1998). To determine the
proper authority to assign to the High Court’s declaratory
judgment, it is necessary to determine the High Court’s role
within the Cook Islands’ judiciary system.

Its name notwithstanding, the High Court of the Cook
Islands is not the highest court in the nation.’ In fact, “High

Court” can refer to two different bodies, one constituted by a

7 University of the South Pacific, “Cook Islands Courts System Information,”
Pacific Islands Legal Information Institute,
http: //www.paclii.org/ck/courts.html

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High Court Judge and one constituted by Justices of the Peace.
Id. It is not clear which of the two bodies is hearing this
request for a declaratory judgement. Like the United States, the
Cook Islands has a multi-tiered court system. Cases from the
High Court (constituted by Justice of the Peace) appeal to the
High Court (constituted by a High Court Judge). Id. Appeals from
the second High Court are heard by the Court of Appeals. Id.
Finally, parties may appeal Court of Appeals decisions to the
Privy Council of the United Kingdom. Id. Thus, it appears that a
declaratory judgment of the High Court should be treated akin to
the finding of a state trial-level court. Undoubtably, it should
be accorded respect, but it should not be seen as a final and
binding determination of the law of the Cook Islands on this
Court.

In addition, the Court has been given no information about
how long it will take for the High Court of the Cook Islands to
issue its decision. Furthermore, the Court observes that this
litigation has been ongoing for four years and, at any earlier
point, Defendants could have requested the declaratory judgment
they belatedly rely on now.

Bluetech and Breakwater have refused to engage in any
discovery throughout this already prolonged litigation. See

S.E.C. v. Elfindepan, S.A., 169 F.Supp.2d 420, 425 (M.D.N.C.

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2001). Bluetech and Breakwater cannot use this latest tactic to
further extend this already lengthy litigation.

Where, as here, the asserted Cook Islands laws provide
broad exceptions permitting disclosure for purposes of defending
any litigation “to the extent reasonably necessary in the
circumstances,” it cannot be reasonably concluded that a
decision from a Cook Islands court would preclude the discovery
that Plaintiffs have requested. See Cook Islands LLC Act at §
72(5).

Even if the High Court of the Cook Islands were to find
there to be an “actual conflict” between Cook Islands law and
American law and this Court was to give the High Court’s
judgment full weight, that would only be the first step of the
analysis. As discussed in more detail below, under the

principles of comity, this Court would still compel discovery.

Order Discovery

In addition to denying the Second Motion for a Protective
Order, the Court will compel discovery. After conducting a
proper international comity analysis, it is clear that the
compulsion of discovery, even without having ruled on all of the

jurisdiction disputes, is well-within this Court’s discretion.

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Actual Conflict

The first step of the comity analysis is to determine if
there is an “actual conflict” between American and Cook Islands
law. For there to be an “actual conflict” it must be
“impossible” for the Defendants to comply with both American and

Cook Islands law. Hartford Fire Ins. Co. v. California, 509 U.S.

764, 799 (1993). “Absent a clash of foreign and domestic law,
American courts may press forward free from worry that their
rulings with threaten the ‘international legal ties that advance

the rule of law within and among nations.’” In re Sealed Case,

932 F.3d at 931 (quoting Laker Airways Ltd. v. Sabena, Belgian

World Airlines, 731 F.2d 909, 937 (D.c. Cir. 1984), as amended

(Mar. 6 and 9, 1984)). Finally, in a case such as this,

(wlith foreign laws designed to frustrate
the operation of domestic courts and foreign
trustees acting in concert with domestic
persons to thwart the United States courts,
the domestic courts will have to be
especially chary of accepting a defendant’s

assertions. . . compliance with a court’s
order concerning a foreign trust is
impossible.

F.T.C. v. Affordable Media, LLC, 179 F.3d 1228, 1241 (9th Cir.

1999).
Though this Court can hardly claim to be an expert in the
laws of the Cook Islands, it is quite clear that Cook Islands

and American law do not directly conflict with one another.

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Taken at “face value,” neither cited Cook Islands law (the ITA
and the Cook Islands LLC Act) prohibits Bluetech and Breakwater

from complying with this Court’s discovery orders. In re Vitamin

C Litig., 8 F.4th 136, 158 (2d Cir. 2021).

The ITA, which most directly applies to Bluetech, does
contain a general prohibition on divulging information relating
to a Cook Islands international trust, of which Bluetech
indisputably is. ITA § 23 (see ECF No. 501-2). However, the
Statute has a rather broad exception allowing a “trustee or an
officer or employee of a trustee or trustee company” to

divulge or make available information

relating to the establishment, constitution,

business undertaking or affairs of an

international trust to any person or class

of persons as that trustee or officer or

employee of a trustee or trustee company

considers necessary from time to time, in

its complete discretion for the carrying out

the management and administration of the

trust in the ordinary course of business.
ITA § 23(5).8 This includes providing that information “for the
purpose of prosecuting or defending any litigation relating to
the establishment, constitution, business undertakings or
affairs of an international trust.” Id. In this case, Bluetech

is defending itself in “litigation relating to its

establishment. . . [and] business undertakings or affairs.”

8 The term “ordinary course of business” is not defined in the legislation.

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Thus, Bluetech’s officers and employees can, by their “complete
discretion,” divulge any information necessary without fear of
repercussion.

Under the Cook Islands LLC Act (see ECF No. 502-1),
Breakwater too is permitted to divulge information. Like in the
ITA, the Cook Islands LLC Act has a general prohibition on
divulging information regarding Cook Islands limited liability
companies, of which Breakwater undoubtably is. Cook Islands LLC
Act § 72(4). But, the Act makes an exception when divulging is
necessary “in the course of the performance of the duties” of an
LLC’s manger or registered agent, id. at § 72(5)(d), or “where
all members of that company consent to such disclosure,” id. at
§ 72(5)(e). Thus, like Bluetech, Breakwater can comply with the
discovery requests if it so chooses without fear of criminal or
civil liability.

While the Cook Islands law does not compel Bluetech and
Breakwater to divulge the requested discovery documents, it does
not prohibit them from doing so. Therefore, under the Hartford
Fire standard, there is no “actual conflict” between the laws of

the Cook Islands and the United States.

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Balance of Interests

Even if Defendants had made a showing of actual conflict
(which they did not), the Court would still compel discovery in
accordance with the principles of international comity.

When determining “whether to issue an order directing
production of information located abroad,” American courts
consider:

(1) “the importance to the investigation or litigation

of the documents or other information requested”

(2) “the degree of specificity of the request”
(3) “whether the information originated in the United

States”

(4) “the availability of alternative means of securing
the information” and

(5) “the extent to which noncompliance with the

request would undermine important interests of the
United States, or compliance with the request would
undermine important interests of the state where the
information is located.”

Restatement (Fourth) of Foreign Relations Law § 426 cmt. a;

Société Nationale Industrielle Aérospatiale, 482 U.S. at 544

n.28 (citing the Restatement). In making this determination,
“\[m]echanical or overbroad rules of thumb are of little value;
what is required is a careful balancing of the interests
involved and a precise understanding of the facts and

circumstances of the particular case.’” Linde v. Arab Bank, PLC,

706 F.3d 92, 108 (2d Cir. 2013) (quoting United States v. First

Nat'l City Bank, 396 F.2d 897, 901 (2d Cir. 1968)).

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Importance to the investigation or litigation: The
requested information is vitally important to the litigation.
Without proper discovery on the topics in Plaintiffs’ discovery
request, this litigation cannot continue. Thus, the outcome of
this litigation does “stand or fall on the present discovery

order.” Richmark Corp. v. Timber Falling Consultants, 959 F.2d

1468, 1475 (9th Cir. 1992) (quoting In re Westinghouse Elec.

Corp. Uranium Contracts Litig., 563 F.2d 992, 999 (10th Cir.

1977)). And, as no discovery responses have been served, the
evidence requested cannot be “cumulative of existing evidence.”
Id. Without this requested information, Plaintiffs will he
unable to pursue their case in its entirety. This factor
supports compelling discovery.

Specificity of the request: The Supreme Court has
admonished lower courts to be sensitive to the difficulties
foreign litigants face in discovery. Courts should carefully
supervise discovery to “seek to minimize its costs and
inconvenience and to prevent improper uses of discovery

requests.” Société Nationale Industrielle Aérospatiale, 482 U.S.

at 546. But, that is not a concern in this case. Bluetech and
Breakwater have not objected to the specificity of the request

and only object to it on the grounds of illegality. Richmark

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Corp., 959 F.2d at 1475. This factor weighs in favor of
compulsion.

Origins of the Information: It appears that the requested
information is located in the Cook Islands. The Defendants are
Cook Islands entities, located and headquartered in the Cook
Islands. However, given the broad exception previously outlined,
the Defendants could provide the information without violating
Cook Islands law. This factor cuts in favor of requiring
discovery.

Availability of alternative means: Other than requesting
these records from the companies, Plaintiffs have no means of
investigating their claims. Defendants have not presented any
alternative means to acquire this information, nor can the Court
identify any. This factor strongly supports compelling
discovery.

Important Sovereign Interests: Of all the Société Nationale

Industrielle Aérospatiale factors, this is the “most important.”

Richmark Corp., 959 F.2d at 1476.

First, as a threshold matter, this is a dispute between two
private entities. Neither sovereign in question-the United
States or the Cook Islands—are involved in this litigation nor,

as far as this Court is aware, have either sovereign made any

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public statements regarding their interest in the litigation.

Reinsurance Co., 902 F.2d at 1280.

Although not a party in this litigation, the United States
nonetheless has a strong interest in the effective vindication
of its statutory causes of action. Plaintiffs, all of whom are
citizens of the United States, are pursuing a Congressionally
created private claim. Showing the importance Congress has
assigned to the effective vindication of this statutory right,
it authorized private plaintiffs to receive treble damages if
successful. 18 U.S.C. § 1964(c). And, it authorized nationwide
service of process.

The United States also has an interest in preventing its
citizens from circumventing American law. Matt Martorello is an
American citizen residing in Texas. 3/29/23 Deposition of Matt
Martorello (“Martorello Deposition”) at 9 (ECF No. 509-24).
Though technically Cook Islands entities, Bluetech and
Breakwater are closely associated with Martorello and are part
of his complex American-based corporate web. Indeed, Bluetech is
owned by Martorello and, by virtue of that fact, is subject to
United States taxation. See Martorello Deposition at 9, 38.
Breakwater also has strong ties to the United States. The
company is managed by Liont, an American company of which

Martorello is President, and is owned by Bluetech. PLAINTIFFS’

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STATEMENT OF POSITION REGARDING HOW MONEY FROM THE ALLEGED
SCHEME FLOWED THROUGH EACH OF MARTORELLO’S COMPANIES (*“Pls.
Statement of Pos. on Money”) at 19 (ECF No. 494); Martorello
Deposition at 34-35, 72-73.

Notwithstanding these strong American ties and Martorello’s
apparent lack of any connection to the Cook Islands, Martorello
created Bluetech and Breakwater as Cook Islands entities.
Martorello Deposition at 5. The reason for this decision is not
difficult to fathom. The Cook Islands has made a name for itself
as an especially settlor-friendly jurisdiction and has created a
legal system dedicated to promoting “asset protection trusts.”
David R. McNair, “Cook Islands Asset Protection Trust Law,” 3 J.
Bus. Entrepreneurship & L. 321, 327 (2010); Stewart E. Sterk,
“Asset Protection Trusts: Trust Law's Race to the Bottom,” 85
Cornell L. Rev. 1035, 1037, 1048 (1999). Indeed, according to at
least one legal scholar, the Cook Islands intentionally
fashioned its “asset protection” legal regime explicitly to
attract an American clientele and to serve as an overseas haven
for American citizens’ funds. McNair, “Cook Islands Asset
Protection Trust Law,” at 322.

Asset protection is, however, nothing more than a euphemism
for evasion. For decades, Americans have used Cook Islands

trusts trying to avoid the reach of American courts. F.T.C. v.

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Affordable Media, LLC, 179 F.3d 1228, 1240 (9th Cir. 1999) (“The

‘asset protection’ aspect of these foreign trusts arises from
the ability of people. . . to frustrate and impede the United
States courts by moving their assets beyond those courts’
jurisdictions”); Debra Baker, “Island Castaway,” 84 A.B.A. J.
54, 55 (1998).

Courts throughout the nation have rejected these attempts
to impede their jurisdiction and to avoid compliance with their
orders. In a landmark case against asset protection trusts, the
United States Court of Appeals for the Ninth Circuit upheld a
contempt order against a couple who claimed they were unable to
satisfy a judgment because their money was in a Cook Islands

trust. Affordable Media, LLC, 179 F.3d at 1231. Rejecting the

couples’ impossibility argument, the Ninth Circuit noted with
disapproval how “the provisions of the trust were intended to
frustrate the operation of domestic courts.” Id. at 1232, 1240.
Any difficulties with repatriating the money in the trust were
“the intended result of [the defendants’] own conduct” and could
not be used to excuse court-ordered performance. Id. at 1239.

Favorably citing to Affordable Media, the United States Court of

Appeals for the Eleventh Circuit rejected a similar contention

by a debtor with an overseas trust. In re Lawerence, 279 F.3d

1294, 1296 (llth Cir. 2002). The Eleventh Circuit noted that the

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trust provision at issue “appears to be an aid to the settlor to
evade contempt while merely feigning compliance with the court’s
order” and that the “validation of such a provision would
contravene public policy.” Id. at 1299. The United States
District Court for the Southern District of Florida likewise
held in contempt a defendant claiming he could not access his

Cook Islands trust funds. S.E.C. v. Solow, 682 F.Supp.2d 1312,

1330 (S.D. Fla. 2010). The Court found the defendant’s use of a
Cook Islands trust an attempt to “obfuscate” his duty to make
good faith efforts to pay the judgment against him. Id. The
courts have sent a clear message: American citizens cannot evade
American court orders by squirreling their money away into
offshore asset protection trusts.

While the United States does have a strong sovereign
interest in this litigation, the Cook Islands does not.

Defendants only cite to the Cook Islands’ general “strong

interest in enforcement of its legitimate laws.” Protective
Order Reply at 4. When conducting a “particularized comity
analysis,” blocking statutes are relevant to understand “the

nature of the sovereign interests in nondisclosure of specific

kinds of materials.” Société Nationale Industrielle

Aérospatiale, 482 U.S. at 545 n.29. The plain language of the

Cook Islands statutes makes clear that the statutes are not

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“directed at domestic affairs,” but rather are designed to

protect entities from American discovery requests. Reinsurance

Co. v. Administratia Asigurarilor, 902 F.2d 1275, 1280 (7th Cir.

1990). Indeed, they were designed and intended as “tactical
weapons and bargaining chips in foreign courts,” not to protect

an avowed Cook Islands interest in secrecy. Id. (quoting

Compagnie Francaise D’‘Assurance v. Phillips Petroleum Co., 105

F.R.D. 16, 30 (S.D.N.Y. 1984)). Therefore, the Cook Islands have
little, if any, sovereign interest in this litigation.
Conclusion: The balance of these factors weighs in support

of compelling discovery.
Motion to Compel and for Sanctions

Overrule Objections

Plaintiffs request the Court to overrule Bluetech and
Breakwater’s objections to discovery requests. MEMORANDUM IN
SUPPORT OF PLAINTIFFS’ MOTION TO COMPEL AND FOR SANCTIONS
("Motion to Compel Memo.”) at 3 (ECF No. 546). First, they argue
that Bluetech and Breakwater’s objection based on Cook Islands
law was untimely raised and thus waived. Id. at 4. Second, they
argue that the Defendants “lodge[d] non-specific, boilerplate
objections” to Plaintiffs’ discovery requests. Id. Having relied
on general objections, the Defendants have waived any specific
objections to Plaintiffs’ interrogatories. Id. at 4-5. In

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particular, Plaintiffs argue that the Defendants overbreadth,
proportionality and relevance objections are improperly raised.
Id. at 9. Third, Plaintiffs argue that all of the Defendants’
confidentiality objections are moot as a PROTECTIVE ORDER has
been entered. See STIPULATED PROTECTIVE ORDER (ECF No. 292).
Fourth, Plaintiffs argue that the Defendants have waived all
privilege objections by only raising boilerplate privilege
objections and failing to properly serve a privilege log. Motion
to Compel Memo. at 6, 8. Fifth, Plaintiffs argue that the
Electronic Stored Information (“ESI”) cutoff should be through
May 1, 2023. Id. at 9. Sixth, Plaintiffs argue that their class
certification requests are not premature. Id. at 11. Seventh,
Plaintiffs also argue that their discovery requests seek
relevant documents and information, including access to the
Defendants’ financial documents, structure and operations, the
lending enterprise and Defendants’ role in the enterprises,
class certification, and notice of illegality. Id. at 12-15.

In response, the Defendants rely entirely on their Cook
Islands defense. DEFENDANTS BLUETECH IRREVOCABLE TRUST AND
BREAKWATER HOLDINGS LLC’S BRIEF IN OPPOSITION TO PLAINTIFFS’
MOTION TO COMPEL AND FOR SANCTIONS (“Motion to Compel Response” )
(ECF No. 559). Indeed, Defendants state “they [are not] relying

on certain specific and general objections raised in their

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discovery responses as the rationale for not producing
responsive information and documents.” Id. at 5. Defendants re-
hash the same arguments they presented in the earlier disputes,
namely that discovery is premature as this Court has not yet
ruled on the various jurisdictional motions before it nor has a
Cook Islands’ court ruled on Defendants’ motion for declaratory
judgment. Id. at 2-3.

The Court has already rejected Defendants’ Cook Islands-
based argument, see supra. As these arguments are presented in
substantially similar form in this response, they are again
rejected for the same reasons as set forth before. As Defendants
have failed to respond to any of Plaintiffs’ other grounds for
compulsion, those arguments are deemed waived. Defendants are
compelled to fully and completely engage in discovery.

Local Civil Rule 26(C) requires discovery objections to be
“served within fifteen (15) days after the service of the
interrogatories, request, or application.” Defendants’
objections were not timely. They are overruled for that reason
alone.

The Defendants also presented boiler plate General

Objections. Those are impermissible. Spendlove v. RapidCourt,

LLC., No. 3:18-cv-856, 2019 WL 7143664, at *3 (E.D. Va. Dec. 23,

2019). Thus, they are overruled. Having ruled on General

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Objections, which are overruled, the Defendants have waived any
specific objection presented belatedly in their briefing.

All objections based on confidentiality are moot because a
PROTECTIVE ORDER has been entered. STIPULATED PROTECTIVE ORDER

(ECF No. 292).

Sanctions

Plaintiffs argue that, under Fed. R. Civ. P. 37(a), the
Defendants should be required to pay the Plaintiffs’ attorneys
fees for bringing this Motion to Compel. Motion to Compel Memo.
at 16. Defendants argue that their failure to comply was
“substantially justified” because there was a “genuine dispute”
over the proper resolution of the Motion to Compel. Motion to
Compel Response at 7.

Rule 37 states that, if a motion to compel is granted, the
Court “must” award attorneys fees to the moving party. Fed. R.

Civ. P. 37(a)(5) (A). However, the Court “must not order this

payment if. . . the opposing party's nondisclosure, response, or
objection was substantially justified.” Fed. R. Civ. P.
37(a) (5) (A) (ii). “A motion is substantially justified if ‘a

reasonable person could think it correct, that is, if it has a

reasonable basis in law and fact.’” Hare v. Comcast Cable

Communications Management, LLC, 564 Fed.Appx. 23, 25 (4th Cir.

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2014) (unpublished) (quoting Pierce v. Underwood, 487 U.S. 552,

565-66 n. 2 (1988)).

In this case, there was a reasonable basis in law for
Defendants to conclude they did not need to comply with
discovery. The comity analysis requires the balancing of various
factors and is highly fact specific. Thus, the Court will not
order sanctions at this point. But, Defendants are admonished to
no longer attempt to rely on the laws of the Cook Islands to

avoid their discovery obligations.

CONCLUSION

For the reasons set forth above, PLAINTIFFS’ OBJECTION TO
BLUETECH AND BREAKWATER’S STATEMENT OF POSITIONS AND EVIDENTURY
[sic] HEARING EXHIBIT LIST (ECF No. 507) will be denied without
prejudice as to the request for an adverse inference; Bluetech
and Breakwater’s MOTION FOR PROTECTIVE ORDER AS TO DEFENDANTS
BLUETECH IRREVOCABLE TRUST AND BREAKWATER HOLDINGS, LLC (ECF No.
533) will be denied; and PLAINTIFFS’ MOTION TO COMPEL AND FOR
SANCTIONS (ECF No. 545) will be granted in part and denied in

part.

/s/ Rif
Robert E. Payne

Senior United States District Judge

Richmond, Virginia
Date: August LH. 2023

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